                         IN THE SUPREME COURT OF THE STATE OF NEVADA


                  IN THE MATTER OF: F. A. A/K/A F. A.,                  No. 62086
                  A MINOR,

                  THE STATE OF NEVADA,
                                                                             FILED
                  Appellant,                                                 JUL 1 4 2016
                  vs.                                                        TRAMS K. LINDEMAN
                  F. A. A/K/A F. A.,                                     CLERK   or
                                                                                  SUPREME COURT

                                                                        BY
                  Resnondents.                                                   DEPUTY CLERK

                  IN THE MATTER OF: F. A. A/K/A F. A.,                   No. 62087
                  A MINOR,

                  THE STATE OF NEVADA,
                  Appellant,
                  vs.
                  F. A. A/K/A F. A.,
                  Respondents.

                                          ORDER OF AFFIRMANCE
                              These are consolidated appeals from a juvenile court order
                  denying the State's petitions to certify respondent, F.A., to stand trial as
                  an adult. Eighth Judicial District Court, Family Court Division, Clark
                  County; William 0. Voy, Judge.
                              We first address F.A.'s claim that the juvenile court's order
                  should be affirmed because the State failed to establish prosecutive merit.
                  Specifically, F.A. contends that the juvenile court erred by concluding that
                  the State established prosecutive merit because eyewitness testimony is
                  inherently unreliable and because the weapons allegedly used in the
                  offenses were never recovered.
                              "To say that there is prosecutive merit is to say that there is
                  probable cause to believe that the subject minor committed the charged
                  crime." In re Seven Minors, 99 Nev. 427, 437, 664 P.2d 947, 953 (1983),
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                  disapproved of on other grounds by In re William S., 122 Nev. 432, 132
                  P.3d 1015 (2006); see also Sheriff v. Hodes, 96 Nev. 184, 186, 606 P.2d 178,
                  180 (1980) ("The finding of probable cause may be based on slight, even
                  marginal evidence." (internal quotation marks omitted)). "An adversary
                  hearing is not required, and the probable cause finding may be based on
                  evidence taken from the petition, sworn investigative reports, witnesses'
                  affidavits, police affidavits, or other informal but reliable evidence." In re
                  Three Minors, 100 Nev. 414, 418, 684 P.2d 1121, 1123-24 (1984),
                  disapproved of on other grounds by William S., 122 Nev. at 442 n.23, 132
                  P.3d at 1021 n.23. The juvenile court's ruling regarding prosecutive merit
                  will not be overturned absent substantial error.   Cf. Sheriff v. Provenza, 97
                  Nev. 346, 630 P.2d 265 (1981) (district court's rulingS regarding probable
                  cause will not be overturned absent substantial error).
                              Here, the juvenile court considered documentary evidence that
                  F.A. robbed three victims of their cell phones and one victim of his iPod.
                  In three of the robberies, the victims claimed that the perpetrator revealed
                  a handgun in his waistband, while the fourth victim claimed that the
                  perpetrator utilized a knife. All four victims identified F.A. in photo
                  lineups, and the fourth victim's iPod was turned over to police by F.A.'s
                  mother, who informed police F.A. had given her the iPod. Based on this
                  evidence, we conclude that the juvenile court did not substantially err by
                  determining that the charged offenses were supported by prosecutive
                  merit.   See Wise v. State, 92 Nev. 181, 183, 547 P.2d 314, 315 (1976)
                  (declining to reverse a conviction for insufficient evidence based on "the
                  'inherent unreliability of eyewitness identification").
                              The State contends that the juvenile court abused its
                  discretion when it denied the State's petitions to certify F.A. pursuant to

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                     NRS 62B.390(1), or discretionary certification. Specifically, the State
                     claims the juvenile court should not have considered F.A.'s subjective
                     factors, or the third category outlined in Seven Minors, because the first
                     two categories clearly warranted certification.    See Seven Minors, 99 Nev.
                     at 434-35, 664 P.2d at 952. Additionally, the State argues that even if the
                     juvenile court properly considered the subjective factors, it impermissibly
                     denied the certification petitions solely because of F.A.'s amenability to
                     treatment in the juvenile system. Id. at 439-40, 664 P.2d at 955. "[T]he
                     [juvenile] court retains broad discretion in making discretionary
                     certification decisions in accordance with the guidelines set forth in Seven
                     Minors." In re William S., 122 Nev. 432, 441-42, 132 P.3d 1015, 1021
                     (2006). "An abuse of discretion occurs if the [juvenile] court's decision is
                     arbitrary or capricious or if it exceeds the bounds of law or reason." In re
                     Eric A.L., 123 Nev. 26, 33, 153 P.3d 32, 36-37 (2007) (alteration in
                     original) (quoting Jackson v. State, 117 Nev. 116, 120, 17 P.3d 998, 1000
                     (2001)).
                                 Having considered the parties' arguments and reviewed the
                     record before this court, we conclude the State has failed to demonstrate
                     that the juvenile court arbitrarily or capriciously exercised its discretion or
                     that its decision to deny the petitions to certify F.A. exceeded the bounds
                     of law or reason. See generally Bradley v. State, 109 Nev. 1090, 1094-95,
                     864 P.2d 1272, 1275 (1993) (discussing that it is generally a court's written
                     order, as opposed to any oral statement, that governs). After multiple
                     hearings and careful consideration, the juvenile court determined that
                     neither of the first two categories outlined in Seven Minors clearly
                     compelled certification; rather, it balanced all three categories from Seven
                     Minors and concluded that community safety and public interest were best

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                served by retaining F.A. in the juvenile system.     See In re Eric A.L., 123
                Nev. at 34, 153 P.3d at 37 (recognizing that the juvenile court may, in
                examining the third factor, consider a juvenile's amenability to treatment).
                We discern no abuse of discretion.
                            Accordingly, we
                            ORDER the judgment of the juvenile court AFFIRMED.



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                cc: Hon. William 0. Voy, District Judge, Family Court Division
                     Attorney General/Carson City
                      Clark County District Attorney/Juvenile Division
                      Clark County Public Defender
                     Eighth District Court Clerk




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